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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :
       v.                                          :       Criminal Action No.: 21-136 (RC)
                                                   :
FELIPE MARQUEZ,                                    :
                                                   :
       Defendant.                                  :

                            SENTENCING SCHEDULING ORDER

       It is hereby ORDERED that the following schedule shall govern the sentencing

proceedings in this case:

            1. sentencing in this matter is set for December 10, 2021, at 2:00 pm via Zoom

               Video;

            2. the probation officer assigned to this case shall disclose the draft pre-sentence

               investigation report to the parties no later than November 5, 2021;

            3. counsel shall submit objections (if any) to the draft pre-sentence investigation

               report to the probation officer no later than November 19, 2021;

            4. the probation officer shall disclose to the parties and file with the Court the final

               pre-sentence investigation report no later than November 26, 2021; and

            5. any party wishing to submit a memorandum in aid of sentencing must do so no

               later than December 2, 2021, with all responses (if any) due by December 8,

               2021, and all such memoranda and responses thereto must cite to supporting legal

               authority.

       SO ORDERED.


Dated: September 13, 2021                                           RUDOLPH CONTRERAS
                                                                    United States District Judge
